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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                           )
                                                     )
        Plaintiff,                                   )
                                                     )
 vs.                                                 ) CRIMINAL NO. 10-30036-DRH
                                                     )
 WILMER OMAR MENDEZ-NUNEZ and                        )
 ALEXANDER ACOSTA-LEAL,                              )
                                                     )
               Defendants.                           )


                                           ORDER

        Before the Court is the Government’s Motion for an Order Remanding Material Witnesses

 to the Custody of Immigration and Customs Enforcement (Doc. 57). Specifically, the Government

 moves to remand Claudia Isabel Juarez-Matamoros and Aurelio Luis Cardona-Recancoj to the

 custody of the United States Immigration and Customs Enforcement as they are no longer needed

 to serve as witnesses because Defendants have pled guilty in this case. Accordingly, the Court

 GRANTS the Government’s motion for remand (Doc. 57). Upon motion of the United States of

 America and for good cause shown, the detention hearing set for May 10, 2010, at 11 a.m. is

 cancelled, and custody of Claudia Isabel Juarez-Matamoros and Aurelio Luis Cardona-Recancoj is

 hereby remanded to the United States Immigration and Customs Enforcement.

        IT IS SO ORDERED.

                                            /s/    DavidRHer|do|
                                            CHIEF JUDGE
                                            United States District Court


 DATED: May 7, 2010
